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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 TYLER FERRIS,                                 )
 on behalf of Plaintiff and the class          )
 members described herein,                     )
                                               )
                         Plaintiff,            )       Case No.: 1:23-cv-02017-SEB-MJD
                                               )
 v.                                            )       Judge Sarah Evans Barker
                                               )       Magistrate Judge Mark J. Dinsmore
 BIBOON, LLC doing business as                 )
 Bridge Lending Solutions;                     )
 LDF HOLDINGS, LLC;                            )
 BRITTANY ALLEN;                               )
 DANIEL KOETTING;                              )
 ROCKHILL CONSULTING                           )
 GROUP, LLC;                                   )
 and JOHN DOES 1-20,                           )
                                               )
                         Defendants.           )
             NOTICE OF SETTLEMENT & REQUEST TO STAY DEADLINES
        Plaintiff Tyler Ferris (“Plaintiff”) submits this notice to inform the Court that the parties

 have settled this matter in principle and expect to file dismissal papers within the next sixty days.

 Plaintiff respectfully requests that all deadlines be stayed while the parties negotiate a written

 settlement agreement.



                                                       Respectfully submitted,


                                                       /s/Matthew J. Goldstein
                                                       Matthew J. Goldstein
 Daniel A. Edelman
 Heather Kolbus
 Matthew J. Goldstein
 EDELMAN, COMBS, LATTURNER
        & GOODWIN, LLC
 20 South Clark Street, Suite 1500
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                                 CERTIFICATE OF SERVICE

        I, Matthew J. Goldstein, certify that on Wednesday, January 17, 2024, I caused a true and

 accurate copy of the foregoing document to be filed via the court’s CM/ECF online system, which

 sent notice via email to counsel of record. I further certify that I sent the foregoing document to

 the following:

        Patrick McAndrews
        Spencer Fane LLP
        pmcandrews@spencerfane.com

        Counsel for Biboon, LLC and
        LDF Holdings, LLC




                                                      /s/Matthew J. Goldstein
                                                      Matthew J. Goldstein


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